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                                   UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION AT DAYTON

In re:
                                                   Case No. 18-bk-32486
         Jimmy D. Brock
                                                   Chapter 13
         Lydia J. Brock
                                                   Judge Beth A. Buchanan
                          Debtors.

                     MOTION FOR ORDER CONFIRMING INAPPLICABILITY OF
                     AUTOMATIC STAY WITH MEMORANDUM IN SUPPORT
     Home Builders Finance, Inc. (“Home Builders”), a creditor of Debtor Jimmy D. Brock

(“Debtor” or “Mr. Brock”) and a party in interest, moves this Court for an Order confirming that,

under § 362(c)(3) of the United States Bankruptcy Code, the automatic stay does not apply to

Home Builder’s Warren County Foreclosure Action (as defined below) against Mr. Brock.

                                      MEMORANDUM IN SUPPORT

     For the reasons set forth below, under Bankruptcy Code § 362(c)(3) the automatic stay

does not apply to Home Builder’s Warren County Foreclosure Action (defined below) against

Debtor and the real property owned by Debtor and his wife, Co-Debtor Lydia J. Brock (“Co-

Debtor” or “Mrs. Brock”) (collectively, “Debtors”) located at 5348 State Route 123, Franklin,

Ohio 45005 (“Property”).

I.   FACTUAL AND PROCEDURAL BACKGROUND

     On July 10, 2002, Mr. Brock filed a Chapter 13 Bankruptcy proceeding in the U.S.

Bankruptcy Court, Southern District of Ohio (Case No. 02-35056). This 2002 bankruptcy

proceeding was dismissed, without a discharge being granted, on September 27, 2002.
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    On May 22, 2003, Mr. Brock filed a Chapter 7 Bankruptcy Proceeding in the U.S. Bankruptcy

Court, Southern District of Ohio (Case No. 03-34416), and he received a discharge on October 4,

2003. However, on March 3, 2004, the U.S. Trustee for Region 9 brought an adversary

proceeding (Case No. 04-03055) seeking to have the discharge revoked and, on April 15, 2004,

the Debtor’s discharge was revoked by the Bankruptcy Court. The Debtor’s discharge was

revoked due to Debtor refusing to cooperate with the Trustee, refusing to turn over a certain

Ford Truck, and refusing to comply with a lawful Order of the Bankruptcy Court.

    On March 7, 2007, Debtor executed and delivered to Home Builders a Promissory Note

that was later amended several times (“Note”). Debtors also granted a mortgage on the

Property to Home Builders to secure the payment of the Note and the Mortgage was amended

several times (“Mortgage”). A copy of the Note, as amended, is attached hereto as Exhibit A.

and a copy of the Mortgage, as amended, is attached hereto as Exhibit B. The Note, as

amended, was due and payable in full in September 2008, but Mr. Brock defaulted under the

Note by failing to pay the amount due. The default under the Note was a default under the

Mortgage.

    At the time Mr. Brock was in default for failing to pay to Home Builders the amount due

under the Note, Home Builders allowed Debtors additional time to obtain financing. When

Debtors were unable to obtain financing, Home Builders filed a Complaint with Action for

Foreclosure against Debtors and other defendants on July 23, 2009 in the Warren County, Ohio,

Court of Common Pleas (Case No. 09CV74860) seeking judgment on the Note (as amended) and

seeking foreclosure of the Mortgage (as amended) on the Property owned by Debtors (“Warren

County Foreclosure Action”). The Note (as amended) matured, and was due in full, in

September 2008. On February 14, 2011, Home Builders was granted judgment against Debtors

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in the Warren County Foreclosure Action and the process for a Sheriff’s sale of the Property

began. The Property was initially scheduled to be sold at a Sheriff’s sale on Monday, May 23,

2011.

    On May 20, 2011, the Friday before the scheduled Sheriff’s sale on Monday, Mr. Brock filed

a Chapter 13 Bankruptcy, together with a proposed Plan, in the U.S. Bankruptcy Court for the

Southern District of Ohio (Case No. 11-32790) (“First Prior Bankruptcy”). Home Builders filed an

objection to the Debtor’s proposed Chapter 13 Plan in the First Prior Bankruptcy. By an agreed

Order, entered on August 15, 2011 (“2011 Agreed Order”), Home Builders agreed to have its

objection to the Plan dismissed in exchange for a requirement that the Debtor refinance and

pay Home Builders in full within two years of the date of the confirmation of the Debtor’s Plan.

The Debtor’s Plan was confirmed in the First Prior Bankruptcy on November 21, 2011.

Therefore, Debtors had until November 21, 2013 to refinance and pay Home Builders the full

amount owed to it under the Note.

    The 2011 Agreed Order was amended by another agreed order dated December 3, 2013

that detailed the amount to be paid by Debtor to Home Builders. Thereafter, Home Builders

allowed Debtor additional time to refinance, but Debtor failed to pay Home Builders the

amount owed as required by the 2011 Agreed Order, as amended. The last payment that Home

Builders received from anyone in the First Prior Bankruptcy was on December 4, 2013 in the

amount of $1,159.66 (Check No. 4241587 from the Bankruptcy Trustee). By Order dated

February 24, 2014, Home Builders was granted relief from the stay in accordance with the

earlier Orders and Bankruptcy Code § 362(d). The First Prior Bankruptcy was dismissed on July

16, 2014.



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    After the stay was lifted, Home Builders began the process in the Warren County

Foreclosure Action to have the Property sold at Sheriff’s sale (including the required advertising

of the sale). The sale was initially scheduled to occur on June 2, 2014, but, due to a request by

Debtor to allow him additional time to refinance, Home Builders agreed to cancel the scheduled

Sheriff’s sale. A copy of the Warren County Agreed Order withdrawing the Property from sale is

attached hereto as Exhibit C.

    When Debtor was still unable to obtain financing, Home Builders again began the process

to have the Property sold at Sheriff’s sale. However, on July 29, 2014, thirteen days after the

First Prior Bankruptcy was dismissed, Debtor filed another Chapter 13 Bankruptcy in the U.S.

Bankruptcy Court for the Southern District of Ohio (Case No. 14-32724) (“Second Prior

Bankruptcy”) and any attempt to reschedule the Sheriff’s sale was prohibited. Debtor filed a

proposed Plan in the Second Prior Bankruptcy on the same day.

    Home Builders filed an objection to the Debtor’s proposed Chapter 13 Plan in the Second

Prior Bankruptcy and moved for dismissal, relief from stay, and for an order confirming the

inapplicability of the automatic stay. By an agreed Order, entered on November 13, 2014,

Home Builders agreed to have its objection to the Plan dismissed and its motion to dismiss

denied without prejudice in exchange for a requirement that Debtor pay Home Builders

$115,423.00 with interest from July 29, 2014 at the rate of 5.635% per annum until Home

Builders was paid in full under Debtor’s Plan.

    By a second agreed Order, entered that same day (“2014 Agreed Order”), Home Builders

agreed to have its motions for relief from stay and for an order confirming the inapplicability of

the automatic stay denied in exchange for Debtor’s agreement that he would make timely

payments to the Trustee under the Plan and on the condition that if the Debtor failed to make

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timely payments and cure his default within ten days after receiving notice thereof, Home

Builders would be entitled to an order granting relief from stay. The Debtor’s Plan was

confirmed in the Second Prior Bankruptcy on December 16, 2014.

    In or around October, 2016, Debtor stopped making the required payments under the Plan

and began making partial payments until in or around March, 2017, when he stopped making

payments altogether. Based on Debtor’s default, the Trustee moved to dismiss the Second Prior

Bankruptcy on April 18, 2017. By an agreed Order, entered May 24, 2017, the Court placed

Debtor on payment probation and ordered that the Second Prior Bankruptcy would be subject

to dismissal without further notice to the Debtor if he defaulted during the probationary

period. When Debtor failed to make the required payments during the probationary period, the

Court dismissed the Second Prior Bankruptcy on January 4, 2018. The last payment that Home

Builders received from anyone in the Second Prior Bankruptcy was on or about January 31,

2018 in the amount of $820.57 (Check No. 4433922 from the Bankruptcy Trustee).

    After the Second Prior Bankruptcy was dismissed, Home Builders again began the process

in the Warren County Foreclosure Action to have the Property sold at Sheriff’s sale (including

the required advertising of the sale). The sale was initially scheduled to occur on Monday,

August 13, 2018, but, due to the representation of Debtor’s counsel that he intended to file the

current bankruptcy by Saturday, August 11, 2018, Home Builders agreed to cancel the

scheduled Sheriff’s sale. A copy of the Warren County Agreed Order withdrawing the Property

from sale is attached hereto as Exhibit D.

    Debtors have proposed in the new Plan that they will pay Home Builders in full over a five-

year period.



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    The Debtor’s current bankruptcy filing, and the proposed Plan, lack good faith and they are

each another attempt by Debtor to delay and hinder Home Builders from collecting on a loan

that was required, under the terms of the amended Note, to be paid in full in September 2008,

and pursuant to agreements in the First and Second Prior Bankruptcies, on or before November

21, 2013 and December 16, 2019, respectively. It has now been ten years since the Note

matured and was due and payable; enough is enough. Home Builders should be allowed to

proceed to have its collateral sold so Home Builders can be paid the amount it is owed.

II. ARGUMENT – STAY IS NOT IN EFFECT

    Bankruptcy Code § 362(c)(3)(A) and (B) provide:

    (c) Except as provided in subsections (d), (e), (f), and (h) of this Section –
                                               ***
        (3) if a single or joint case is filed by or against a debtor who is an individual
        in a case under chapter 7, 11, or 13, and if a single or joint case of the debtor
        was pending within the preceding 1-year period but was dismissed, other
        than a case refiled under a chapter other than chapter 7 after dismissal under
        section 707(b)–
              (A) the stay under subsection (a) with respect to any action taken
              with respect to a debt or property securing such debt or with respect
              to any lease shall terminate with respect to the debtor on the 30th
              day after the filing of the later case;
              (B) on the motion of a party in interest for continuation of the
              automatic stay and upon notice and a hearing, the court may extend
              the stay in particular cases as to any or all creditors (subject to such
              conditions or limitations as the court may then impose) after notice
              and a hearing completed before the expiration of the 30-day period
              only if the party in interest demonstrates that the filing of the later
              case is in good faith as to the creditors to be stayed; and
                                               ***

There cannot be any dispute that § 362(c)(3)(A) applies to the Debtor in this case. He filed the

current Chapter 13 bankruptcy proceeding within a year of the dismissal of his Second Prior

Bankruptcy.

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     Under Bankruptcy Code § 362(c)(3)(A), the automatic stay is terminated after thirty (30)

days as to actions against the Debtor and as to actions against property of the estate. See St.

Anne’s Credit Union v. Ackell, 490 B.R. 141, 145 (D. Mass. 2013); In re Reswick, 446 B.R. 362, 373

(9th Cir. BAP 2011); In re Daniel, 404 B.R. 318, (Bankr. N.D. Ill. 2009) (§ 362(c)(3) terminates the

automatic stay as to estate property).1 The Second Prior Bankruptcy was dismissed on January

4, 2018 and the current bankruptcy was filed approximately eight months later on August 11,

2018. Neither the Debtor nor any party in interest obtained an Order extending the thirty day

period “before the expiration of the 30-day period” as required by § 362(c)(3)(B). In fact,

neither the Debtor nor any party in interest even filed a motion seeking an extension of the stay

prior to the expiration of the thirty day period. Therefore, the automatic stay has expired and

Home Builders requests that this Court issue an Order confirming that the automatic stay is no

longer in effect, as to the Debtor or property of the estate. This will allow Home Builders to

once again begin the process of having the Property sold at Sheriff’s sale in accordance with this

Court’s 2014 Relief Order in the First Prior Bankruptcy and consistent with the spirit of the

Court’s 2014 Agreed Order in the Second Prior Bankruptcy.

     In the First Prior Bankruptcy, the Debtor specifically agreed that, if he failed to pay to Home

Builders the full amount owed to it within two years of the confirmation of the Plan in the First

Prior Bankruptcy, the stay would be lifted to allow Home Builders to have the Property sold at

Sheriff’s sale. Similarly, the Debtor specifically agreed in the Second Prior Bankruptcy that, if he

failed to make timely payments and cure his default within ten days after receiving notice

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 There are decisions that have found that § 362(c)(3)(A) only terminates the stay against the Debtor personally
and non-estate property, not as to property of the estate. See In re Harris, 342 B.R. 274 (Bankr. N.D. Ohio 2006),
and decisions cited in Ackell. However, as noted in the Ackell decision, the holdings in these other decisions
misinterpret the statutory language and state a view that is not supported by the legislative history. Ackell, 490
B.R. at 144-145. The purpose of the statute is to “discourage serial filings that are made simply to obtain the
benefit of the automatic stay.” Id.

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thereof, Home Builders would be entitled to submit an Affidavit of Default and would

thereafter receive an order granting relief from stay to allow Home Builders to have the

Property sold at Sheriff’s Sale. The filing of the current bankruptcy is a bad faith attempt to

manipulate and abuse the bankruptcy process to prevent the prior agreements made in

bankruptcy from being completed and to prevent the Sheriff’s sale of the Property.

The Debtor should not be allowed to make multiple agreements with Home Builders in the First

and Second Prior Bankruptcies, fail to fulfill the agreements, stop making payments to Home

Builders, force Home Builders to commence the Sheriff’s sale process repeatedly only to

convince it to voluntarily delay and/or withdraw the Sheriff’s sales, and then file a third Chapter

13 proceeding to further prevent the sale of the Property by the Sheriff. The Debtor’s actions

are a manipulation and abuse of the bankruptcy system and such conduct should not be

allowed to succeed.

III. CONCLUSION

    For the reasons set forth above, Home Builders is entitled to an Order that the stay does

not apply to Home Builders or the Sheriff’s sale in the Foreclosure Action.



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                                                           Attorneys for Creditor Home Builders Finance, Inc.

                         CERTIFICATE OF SERVICE WITH 21-DAY NOTICE OF MOTION
     Creditor Home Builders Finance, Inc., by counsel, has filed its MOTION FOR ORDER CONFIRMING
INAPPLICABILITY OF AUTOMATIC STAY WITH MEMORANDUM IN SUPPORT in this case. Notice is hereby
given that unless a responsive pleading is filed within 21 days from the date of this service, an
order granting the foregoing MOTION FOR ORDER CONFIRMING INAPPLICABILITY OF AUTOMATIC STAY WITH
MEMORANDUM IN SUPPORT may be issued by the Court without further notice or hearing as
provided by LBR 9013-1(b). If you do not want the court to grant the relief sought in the
Motion, then on or before twenty-one (21) days from the date set forth below in this
certificate of service for the motion, you must file with the court a response explaining your
position by mailing your response by regular U.S. Mail to Clerk, U.S. Bankruptcy Court, Southern
District of Ohio, 120 West Third Street, Dayton, Ohio 45402 or your attorney must file a
response using the court's ECF system. The court must receive your response on or before the
above date. Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. If you do not have an
attorney, you may wish to consult one.
    You must also send a copy of your response either by (1) the court’s ECF system or by (2)
regular U.S. Mail to:
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     The undersigned further certifies that a copy of the foregoing MOTION FOR ORDER CONFIRMING
INAPPLICABILITY OF AUTOMATIC STAY WITH MEMORANDUM IN SUPPORT was served upon the following
parties via the Court’s ECF system at the email address registered with the court1 or by ordinary
U.S. mail, postage prepaid,2 on October 1, 2018:

Wayne P. Novick (gratefullawyer2@gmail.com) 1         Jeffrey M. Kellner (ecfclerk@dayton13.com) 1
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Jimmy D. Brock – Debtor 2                             U.S. Trustee 2
Lydia J. Brock – Co-Debtor 2                          c/o Assistant U.S. Trustee
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                                                      /s/ John E. Haller
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